Case No. 1:25-cv-00425-STV          Document 27        filed 04/02/25     USDC Colorado            pg 1
                                            of 6




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-00425-STV

TINA M. PETERS,

       Applicant,

v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado; and
PHILIP J. WEISER, in his official capacity as Attorney General of the State of Colorado,

       Respondents.


                 REPLY IN SUPPORT OF MOTION TO STRIKE
         STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA


       Pursuant to the Court’s Order of March 12, 2025, ECF No. 18, Respondent Attorney

General Philip J. Weiser respectfully submits this reply in support of his request that this Court

reject the proposed Statement of Interest of the United States of America (“Statement”), ECF

No. 16, and in support, more fully states:

                                        INTRODUCTION

       The United States filed a Statement of Interest in this case that proffered no reasonable

interest that the United States has in this matter, but instead—without a single supporting fact—

promised a “review” by the Department of Justice as to whether the prosecution of Tina Peters

was an “abuse[] of the criminal justice system . . . oriented more toward inflicting political pain

than toward pursuing actual justice or legitimate governmental objectives.” ECF No. 16. Given

the patent impropriety and baselessness of such a threat, as well as the lack of any articulable

interest of the United States in this habeas proceeding, Respondent asked this Court to reject the

Statement of Interest. In its response, the United States makes no attempt whatsoever to provide
Case No. 1:25-cv-00425-STV           Document 27         filed 04/02/25      USDC Colorado             pg 2
                                             of 6




any justification for its threats to investigate the Peters prosecution, nor does it assert a single

fact or make a single argument with respect to the propriety of her prosecution or sentence.

Instead, it simply parrots arguments already advanced by Ms. Peters’ counsel regarding her

appeal bond.

        While the United States has broad powers to file Statements of Interest, it had no basis to

threaten to investigate Tina Peters’ prosecutors and cannot articulate even the slimmest rationale

why the United States has any interest in whether an individual state criminal defendant is

entitled to an appeal bond (a bond that is virtually never granted to any criminal defendant in the

state of Colorado). Other than simply acting as co-counsel to restate the arguments of Ms. Peters’

counsel, it is unclear what the United States wants to do to vindicate its unidentified interests.

In light of the United States’ failure to identify any proper interest or to otherwise provide helpful

information to the Court, Respondent reiterates its request that the Statement be stricken.

        I.      The United States’ Threat of Investigating the Peters Prosecutors Should Be
                Stricken.

        Respondent objected to the Statement of Interest because its primary purpose appeared to

be to threaten investigation of the attorneys that prosecuted Ms. Peters. Those threats were

baseless and improper, particularly in light of the heavy involvement of the United States

Department of Justice and the United States Attorney’s Office for the District of Colorado in the

investigation of Peters’ criminal conduct. The United States attorneys who signed the Statement

of Interest that contained those threats have now withdrawn from this matter. (ECF Nos. 22, 23.)

Substitute counsel, who signed the response filed by the United States, has not offered a single

fact to support those threats and makes no effort to defend them. They should be stricken.




                                                   2
Case No. 1:25-cv-00425-STV           Document 27        filed 04/02/25     USDC Colorado           pg 3
                                             of 6




       II.     The United States Fails to Articulate Any Interest that Would Warrant Its
               Participation in this Case.

       There is no doubt that the United States has broad discretion to file a Statement of

Interest pursuant to 28 U.S.C. § 517, and it cites to a handful of cases reflecting the types of

cases where it does so – qui tam actions, 1 cases in which a foreign nation is a party, 2 cases

interpreting federal statutes that the United States enforces, 3 disputes over whether the United

States has to provide legal representation to federal employees, 4 and cases where discovery is

sought for use against the federal government. 5 The interest of the United States in such cases is

apparent. But for the United States of America to file a Statement of Interest on behalf of a state

criminal defendant in a habeas proceeding is unprecedented—it literally has no precedent. The

United States does not cite—and Respondent cannot find—a single instance where this has ever

happened.

       Given the unprecedented nature of the United States’ filing, one might expect the

Department of Justice to have a thoroughly considered explanation of the specific interest that



1
 United States ex rel. Prather v. Brookdale Senior Living Cmtys., Inc., 892 F.3d 822 (6th Cir.
2018).
2
 Roeder v. Islamic Republic of Iran, 195 F. Supp. 2d 140 (D.D.C. 2002); Gross v. German
Found. Indus. Initiative, 456 F.3d 363 (3d Cir. 2006).
3
  Trujilo v. Amity Plaza, LLC, 714 F. Supp. 3d 1302 (D. Colo. 2024) (Fair Housing Act); A.V. ex
rel. Hanson v. Douglas Cnty. Sch. Dist. RE-1, 586 F. Supp. 3d 1053, 1061 (D. Colo. 2022)
(Americans with Disabilities Act); Gil v. Winn Dixie Stores, Inc., 242 F. Supp. 3d 1315, 1317
(S.D. Fla. 2017) (same); Alvey v. Gualtieri, 2016 WL 6071746, at *2 (M.D. Fla. Oct. 17, 2016)
(same); Ferrand v. Schedler, 2012 WL 1247215, at *1-2 (E.D. La. Apr. 13, 2012) (National
Voter Registration Act).
4
 Falkowski v. EEOC, 783 F.2d 252, 253 (D.C. Cir. 1986); Turner v. Schultz, 187 F. Supp. 2d
1288, 1294 (D. Colo. 2002).
5
  Karnoski v. Trump, 2018 WL 4501484 (E.D. Mich. Sept. 20, 2018) (granting United States
leave to respond to a motion to compel production of documents from a third party for use in a
case against the federal government).
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Case No. 1:25-cv-00425-STV           Document 27        filed 04/02/25     USDC Colorado          pg 4
                                             of 6




the United States has in this matter. But it offers no more than the most abstract interest in the

constitutional treatment of criminal defendants—an interest that would exist in virtually every

state habeas proceeding—and a single citation to a memorandum from the United States

Attorney General that concerns investigation of federal agencies—not of state prosecutors. (ECF

No. 26 at 6, citing Attorney General Memorandum, Restoring the Integrity and Credibility of the

Department of Justice (Feb. 5, 2025).) Nor do the United States’ substantive arguments on behalf

of Ms. Peters reveal any interest of the United States. Rather, the United States makes exactly the

same arguments that Ms. Peters makes in her Application. It appears that the United States is

simply interested in presenting extra briefing for Ms. Peters on issues on which she is already

adequately represented. (Id. at 6-9.)

       Finally, the Court should consider this unprecedented action by the United States in the

broader context in which the Statement of Interest was made. Tina Peters was charged with

crimes for her unlawful use of deceit to defraud state and local public servants in order to

advance theories that President Trump won the 2020 election. But, because Peters committed

state crimes, the President cannot pardon her. Instead, he has sent the Department of Justice to

make filings in her habeas proceeding, while Republicans simultaneously pressure the Governor

of Colorado to pardon Peters under the threat of the President withholding the State of

Colorado’s federal funding. See, e.g., 9 News: Republicans Call for Pausing Federal Funds to

Colorado Unless Governor Pardons Tina Peters; https://www.denverpost.com

/2025/03/19/tina-peters-polis-clemency-end-persecution/. Tina Peters was not prosecuted

because of any political pressure; she was prosecuted because she broke the law. And just as

they did not prosecute her for political reasons, her prosecutors will not accede to any political



                                                  4
Case No. 1:25-cv-00425-STV           Document 27        filed 04/02/25      USDC Colorado        pg 5
                                             of 6




pressure to give her preferred treatment in sentencing or terms of confinement. She will be

treated like every other criminal defendant, as justice requires.

       Ultimately, whether or not this Court considers the extra briefing that the United States

has provided for Ms. Peters is unlikely to have any material impact on this case. But the Attorney

General of Colorado has grave concerns about normalizing what is egregious conduct. The

Department of Justice filed an unprecedented Statement of Interest in a case in which it can

articulate no interest of the people of the United States, all while delivering threats of

investigating her prosecutors with no supporting facts. While the United States has broad

authority to file a Statement of Interest, this Court has broad discretion on whether to accept it.

Cont’l Auto. Sys., Inc. v. Avanci, LLC, 485 F. Supp. 3d 712, 724 (N.D. Tex. 2020); LSP

Transmission Holdings, LLC v. Lange, 329 F. Supp. 3d 695, 703 (D. Minn. 2018), aff’d, 954 F.3d

1018 (8th Cir. 2020). Here, where the United States appears to have used its Statement of Interest

to wield political power that should have no role in this matter, Respondent urges the Court to

reject it as not “useful,” and certainly not “necessary to the administration of justice.” LSP, 329

F. Supp. 3d at 703.

                                          CONCLUSION

       For these reasons, Respondent Attorney General respectfully requests that this Court

reject the United States’ Statement of Interest.




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Case No. 1:25-cv-00425-STV   Document 27    filed 04/02/25    USDC Colorado   pg 6
                                     of 6




                                   Respectfully submitted,



                                   s/ Shannon Stevenson
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                                       6
